Case 1:20-cv-10484-GAO Document 66-16 Filed 11/01/22 Page 1 of 3
Case 1:20-cv-10484-GAO Document 66-16 Filed 11/01/22 Page 2 of 3

 

 

In the Matter of:
Edward Sullivan V.

Town of Walpole, et.al.

 

Andrew Kiewlicz

August 18, 2022

 

68 Commercial Wharf « Boston, MA 02110
888.825.3376 - 617.399.0130
Global Coverage
court-reporting.com

: COURT REPORTING SOLUTIONS
A MAGNA LEGAL SERVICES COMPANY®

 

 

 

 
Case 1:20-cv-10484-GAO Document 66-16 Filed 11/01/22 Page 3 of 3
Edward Sullivan V.
Town of Walpole, et.al.

Andrew Kiewlicz
August 18, 2022

 

 

 

 

Page 13 Page 15
di. A. The next thing that | did or the next thing 1 Benner had with Mr. Sullivan.
2 that happened there? 2 Q. And that would have been back at the police
3 Q. Yes. Well, the next thing that happened in 3 station?
4 the sequence of events in that room. 4 A. Correct.
5 A. | waited in the office while Mr. Skutul 5 Q. Okay. Were you present when Mr. Sullivan
6 initiated his investigation. 6 was taken into custody?
7 Q. And did he speak with &aijjjieSullivan, do 7 A. No.
8 you know? 8 Q. So is it fair to say that at some point
9 A. Yes, | believe so. 9 when you returned to the police station
10 Q. He spoke with her there at the high school? 10 Mr. Sullivan was already there?
Ld. A. Yes. 11 A. Yes.
12 Q. And you were not present during that 12 Q. And had he already been processed and
13 conversation with Mr. Skutul and (ai, 13 booked at that point in time, if you know?
14 Sullivan? 14 A. He had already gone through the initial. |
15 A. No, | was not. 15 don't know if the booking had completed or
16 Q. Was Detective Benner present in the room 16 not or what stage they were at. | wasn't
17 with Mr. Skutul and QPS ullivan during 17 in the room.
18 that conversation? 18 Q. Now were you in the room when Mr. Sullivan
19 A. Yes, | believe so. 19 was interviewed?
20 Q. What did you do next, officer? 20 A. Yes.
21 A. The next thing | did was once they were 21 Q. Okay. And Mr. Sullivan was provided his
22 finished | drove Detective Benner over to 22 Miranda warnings, correct, prior to the
23 the Fisher School. 23 interview?
24 Q. And what did you do when you were at the 24 A. Yes, he was.
Page 14 Page 16
1 Fisher School, sir? 1 Q. And was that done in your presence, sir?
2 A. | sat in the office while DCF, Mr. Skutul 2 A. Yes.
3 and Detective Benner, continued the 3 Q. And he indicated that he understood his
4 investigation. 4 Miranda warnings, correct?
5 Q. Were you involved in the investigation at 5 A. Yes.
6 all, or were you just sitting on the 6 Q. And he waived his right to counsel, and he
7 sidelines so to speak? 7 waived his right to remain silent, correct?
8 A. | was sitting on the sidelines. 8 A. Yes.
9 Q. Did you hear any of the conversation 9 Q. And he spoke with you and Detective Benner
10 between Detective Benner and Mr. Skutul and 10 freely, did he not?
11 ERR or SS ullivan? 11 A. Yes.
12 A. No. They were in a private room. 12 Q. Okay. And he was cooperative and he
13 Q. Did you speak with anybody at the school, 13 answered all your questions, correct?
14 any of the teachers or the principals at 14 A. Yes.
15 that school? LS Q. After the interview where was Mr. Sullivan
16 A. No. 16 taken?
17 Q. You didn't speak with anybody else other 17 A. Back to the intake, the booking room.
18 than Detective Benner and Mr. Skutul? 18 Q. And by the way, that interview with
19 A. Correct. 19 Mr. Sullivan was audio and video recorded,
20 Q. Did you take any further action in the 20 correct?
21 investigation of the case, sir? 21 A. Yes.
22 A. Atthe Fisher School or in general? 22 Q. Did you do anything further after the
23 Q. In general. 23 interview with Mr. Sullivan in regard to
24 A. I sat in on the interview that Detective 24 the investigation in this case?

 

 

Pages 13 to 16

O'Brien & Levine, A Magna Legal Services Company
888.825.3376 - production@court-reporting.com
